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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
               Plaintiff,
                                                          CASE NO: 4:17MJ3093
      vs.

ALBERTO GIOVANNI ZAMORA,                                  DETENTION ORDER
              Defendant.



       The defendant is charged with a drug crime under the Controlled Substances Act
(21 U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or
more years in prison. On the government's motion, the court held a detention hearing
under the Bail Reform Act, 18 U.S.C. § 3142(f). The court concludes the defendant
must be detained.

       There is a rebuttable presumption that no condition or combination of conditions
of release will reasonably assure the defendant’s appearance at court proceedings and
the safety of the community because there is probable cause to believe the defendant
committed a drug crime under the Controlled Substances Act (21 U.S.C. § 801 et seq.),
for which the defendant could be required to serve ten or more years in prison. The
defendant has not rebutted this presumption.

       Based on the evidence presented and information of record, the court finds by a
preponderance of the evidence that the defendant's release would pose a risk of
nonappearance at court proceedings, and by clear and convincing evidence that the
defendant's release would pose a risk of harm to the public

       Specifically, the court finds that the defendant has a criminal history of violating
the law and court orders; has a history of harming or threatening harm to others; is
addicted to or abuses mood-altering chemicals and is likely to continue such conduct
and violate the law if released; has significant contacts in a foreign country and may flee
before trial; has limited employment contacts; and conditions which restrict Defendant’s
travel, personal contacts, and possession of drugs, alcohol, and/or firearms; require
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reporting, education, employment, or treatment; or monitor Defendant’s movements or
conduct; or any combination of these conditions or others currently proposed or
available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate the risks posed if the
defendant is released.

                             Directions Regarding Detention

       The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult
privately with defense counsel. On order of the United States Court or on request of an
attorney for the Government, the person in charge of the corrections facility must deliver
the defendant to the United States marshal for a court appearance.

       Dated September 11, 2017.

                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
